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                                                                            August 12, 2022

                              Smith et al. v. Annucci et al.
                    1:21-cv-01715-RA [rel. 1:17-cv-07954-RA-OTW]

Dear Judge Wang:

                As previewed in the parties’ July 29, 2022 joint status letter (ECF No.
150), the parties respectfully request an extension of several of the deadlines in the Joint
Case Management Plan (ECF No. 137). The parties have been working together to
resolve several discovery disputes and Defendants have not yet completed their
production of documents to Plaintiffs’ first set of document requests. Therefore, the
parties request an extension of the following deadlines:

             Event                  Current Deadline              Proposed Deadline
 Final production of             May 1, 2022                   October 1, 2022
 documents responsive to
 Plaintiffs’ first set of
 document requests
 Service of initial set of       September 1, 2022             October 15, 2022
 interrogatories
 Service of final requests for   September 1, 2022             February 1, 2023
 admission
 Complete depositions of         September 15, 2022            February 15, 2023
 fact witnesses
 Complete fact discovery         October 1, 2022               March 1, 2023
 Complete expert discovery       February 1, 2023              July 1, 2023
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                                                                             2


                                               Respectfully,



                                               /s/ David M. Stuart       .
                                               David M. Stuart
                                               Attorney for Plaintiffs

                                               /s/ Andrew Blancato _
                                               Andrew Blancato
                                               Attorney for Defendants

The Honorable Ona T. Wang
   United States District Court for the Southern District of New York
      Daniel Patrick Moynihan United States Courthouse
          500 Pearl St., Room 20D
              New York, NY 10007

VIA CM/ECF
